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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DAMIEN STEWART,                               )
                                              )
                             Plaintiff,       )
                                              )
              v.                              )   No. 21 CV 2671
                                              )
CITY OF CHICAGO and CHICAGO                   )
POLICE OFFICERS DELGADO                       )
FERNANDEZ, #12335, and JERLAD                 )
WILLIAMS, #3317,                              )
                                              )
                             Defendants.      )

                                          COMPLAINT

       NOW COMES the Plaintiff, DAMIEN STEWART, by and through counsel,

SHILLER PREYAR JARARD & SAMUELS, and complaining of the defendants, CITY OF

CHICAGO and DELGADO FERNANDEZ, #12335, and JERALD WILLIAMS, #3317,

states as follows:

                                     INTRODUCTION

       This is a civil action seeking damages against defendants for committing acts

under color of law, and depriving Plaintiff of rights secured by the Constitution and

laws of the United States.

                                      JURISDICTION

1.     This action is brought pursuant to the Civil Rights Act, 42 U.S.C. § 1983, and the

       Fourth and Fourteenth Amendments to the United States Constitution.




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2.   The jurisdiction of this Court is invoked pursuant to the judicial code 28 U.S.C. §

     1331 and 1343 (a); the Constitution of the United States.

                                       PARTIES

3.   Plaintiff DAMIEN STEWART is a citizen of the United States of America, who, at

     all times relevant, resided in Cook County, Illinois.

4.   Defendants DELGADO FERNANDEZ, #12335, and JERALD WILLIAMS, #3317

     (“Defendant Officers”) were, at the time of this occurrence, duly licensed

     Chicago Police Officers. They engaged in the conduct complained of in the

     course and scope of their employment and under color of law. They are sued in

     their individual capacities.

5.   Defendant CITY OF CHICAGO (“City”) is a municipal corporation duly

     incorporated under the laws of the State of Illinois, and is the employer and

     principal of Defendant Officer.

                                       FACTS

6.   On or around 18 May 2019, Plaintiff Damien Stewart was lying down in a

     holding cell when he was approached by Defendant Officers.

7.   Although Plaintiff had already been thoroughly searched, Defendant Officers

     claimed they needed to search him again.

8.   Defendant Officers searched Plaintiff.

9.   At the end of the search, Defendant Fernandez patted Plaintiff on the head like

     he was a dog.




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10.   When Plaintiff took exception to Defendant’s conduct, Defendant Officer placed

      him in a headlock and began punching him in the face.

11.   Defendant Williams then grabbed Plaintiff’s hands to prevent him from being

      able to protect himself.

12.   Defendant Officers slammed Plaintiff to the ground, pressing their body weight

      on him and continued to use excessive and unreasonable force against Plaintiff.

13.   Defendant Officers then filed false charges against Plaintiff in an attempt to cover

      up for their misconduct.

14.   The acts of Defendant Officer were intentional, willful and wanton.

15.   As a direct and proximate result of the unlawful actions of the defendants,

      Plaintiff was injured, including physical injuries, pain and suffering, humiliation,

      embarrassment, fear, emotional trauma, mental anguish, the deprivation of their

      constitutional rights and dignity, interference with a normal life, lost time, and

      attorneys’ fees.

                     COUNT I: 42 U.S.C. § 1983 – Excessive Force

16.   Plaintiff re-alleges the above paragraphs as though fully set forth herein.

17.   The actions of the Defendant Officers constituted unreasonable, unjustifiable,

      and excessive force against Plaintiff, thus violating his rights under the Fourth

      Amendment to the Constitution of the United States and 42 U.S.C. §1983.

18.   As a direct and proximate result of the above-detailed actions of the defendants,

      Plaintiff was injured, including severe pain, physical injury, mental suffering,

      anguish and humiliation, emotional distress, and fear.

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       WHEREFORE the Plaintiff, DAMIEN STEWART, purusant to 42 U.S.C. §1983,

demands judgment against the Defendant Officers, DELGADO FERNANDEZ, #12335,

and JERALD WILLIAMS, #3317, for compensatory damages, punitive damages, the

costs of this action and attorneys’ fees, and any such other and further relief as this

Court deems equitable and just.

                    COUNT II: 745 ILCS 10/9-102 – Indemnification

19.    Plaintiff realleges each of the foregoing paragraphs as if fully set forth here.

20.    Defendant City is the employer of the Defendant Officers.

21.    Defendant Officers committed the acts alleged above under color of law and in

       the scope of their employment as employees of Defendant City.

       WHEREFORE the Plaintiff, DAMIEN STEWART, demands that, should any

individually-named defendants be found liable on one or more of the claims set forth

above, pursuant to 745 ILCS 10/9-102, the Defendant, CITY OF CHICAGO, be found

liable for any judgment Plaintiff obtains, as well as attorney’s fees and costs awarded.

PLAINTIFF DEMANDS TRIAL BY JURY.
                                                  Respectfully Submitted,

                                                  DAMIEN STEWART



                                           By:    s/ Jeanette Samuels
                                                          One of Plaintiff’s Attorneys

                                                  Jeanette Samuels
                                                  SHILLER PREYAR JARARD & SAMUELS
                                                  601 S. California Avenue
                                                  Chicago, Illinois 60612
                                                  T: (872) 588-8726
                                                  E: sam@chicivilrights.com

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